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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS                               21    M   tO
                                       AUSTIN DIVISION

 MICHAEL C. DEMARQUIS                                   §
               PLAINTIFF,                               §
                                                        §
 V.                                                     §     CAUSE NO. 1:20-CV-634-LY
                                                        §
 ALORICA, INC.,                                         §
                        DEFENDANT.                      §


                 ORDER ADOPTING REPORT AND RECOMMENDATION OF
                      THE UNITED STATES MAGISTRATE JUDGE
         Before the court in the above-styled and numbered cause of action are Defendant Alorica,

Inc.'s ("Alorica") Motion to Dismiss Plaintiff's Amended Complaint filed September 18, 2020

(Doc. #16), Plaintiff Michael C. DeMarquis's response filed October 23, 2020 (Doc. #19), and

Alorica's reply filed November 5, 2020 (Doc. #20).

         This motion was referred to a United States Magistrate Judge for report and

recommendation.       See 28   U.S.C.   §   636(b); Fed. R. Civ. P. 72; Loc. R. W.D. Tex. App'x C, R. 1(d).

The magistrate judge signed a report and recommendation on May 12, 2021 (Doc. #22),

recommending that this court grant Alorica's motion to dismiss pursuant to Federal Rule of Civil

Procedure 1 2(b)(6) and dismiss DeMarquis' s complaint without prejudice. The magistrate judge

further recommended that the court set a deadline by which DeMarquis may file an amended

complaint.

         A party may serve and file specific written objections to the proposed findings and

recommendations of a magistrate judge within 14 days after being served with a copy of the report

and recommendation and thereby secure de novo review by the district court.                        See 28


U.S.C.   §   636(b); Fed. R. Civ. P. 72(b). A party's failure to timely file written objections to the

proposed findings, conclusions, and recommendation in a report and recommendation bars that
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party, except upon grounds of plain error, from attacking on appeal the unobjected-to proposed

factual findings and legal conclusions accepted by the district court. See Douglass        v.   United

Services AutoAss'n, 79 F.3d 1415 (5th Cir. 1996) (enbanc).

       The record shows that all parties had notice of the report and recommendations by May 13,

2021, and that objections were due on or before May 27, 2021. To date, no objections have been

filed. The court, having reviewed the entire record and finding no plain error, accepts and adopts

the report and recommendation filed in this cause for substantially the reasons stated therein.

Accordingly,

      IT IS ORDERED that the report and recommendation of the United States Magistrate Judge

(Doc. #22) is ACCEPTED AND ADOPTED by the court.

      IT IS FURTHER ORDERED that Alorica's motion to dismiss (Doc. #16) is GRANTED.

DeMarquis's complaint is DISMISSED WITHOUT PREJUDICE.

      IT IS FURTHER ORDERED that DeMarquis may file an amended complaint to cure the

deficiencies in his allegations regarding Alorica' s status as a "debt collector" under the Fair Debt
                                                                                .1-i
Collection Practices Act or the Texas Debt Collection Act on or before

         2021.

       SIGNED this                 day of June, 2021.




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